962 F.2d 6
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.David BRIGHT, Plaintiff-Appellant,v.James N. ROLLINS, Warden;  John Sandstrom, Defendants-Appellees.
    No. 92-6174.
    United States Court of Appeals,Fourth Circuit.
    Submitted:  April 14, 1992Decided:  May 21, 1992
    
      Appeal from the United States District Court for the District of Maryland, at Baltimore.  Edward S. Northrop, Senior District Judge.  (CA-91-2546-N)
      David Bright, Appellant Pro Se.
      D.Md.
      AFFIRMED.
      Before HALL, PHILLIPS, and WILKINSON, Circuit Judges.
      OPINION
      PER CURIAM:
    
    
      1
      David Bright appeals from the district court's order denying relief under 42 U.S.C. § 1983 (1988).  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Bright v. Rollins, No. CA-91-2546-N (D. Md. Jan. 27, 1992).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    AFFIRMED
    